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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.     LA CV21-05915 JAK (DFMx)                                          Date        November 2, 2021
 Title        Kee Sook Ahn v. Kenny Trang, et al.




 Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                               Not Reported
                  Deputy Clerk                                       Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                     Not Present                                              Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION RE KENNY TRANG, et al.

The Court, on its own motion, orders Plaintiff to show cause in writing no later than November 9, 2021
why this action should not be dismissed for lack of prosecution regarding overdue responses, as to
Kenny Trang, Nina Truong, and Randall Watkins. Pursuant to Rule 55 of the Federal Rules of Civil
Procedure, Plaintiff shall file an application requesting the entry of default. Plaintiff is advised that the
Court will consider the filing of an application, which complies with the federal rules, on or before the
date upon which the response is due, as a satisfactory response to the Order to Show Cause. The
Order to Show Cause will stand submitted upon the filing of an appropriate response. No oral argument
will be heard unless otherwise ordered by the Court. Failure to respond will result in the dismissal of
this matter.


IT IS SO ORDERED.




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                                                             Initials of Preparer      TJ




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